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                            EXHIBIT A
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Nathan Schwed, Esq.                                                This Order relates to a hearing
Peter Janovsky, Esq.                                               held on ________
Robert Guttmann, Esq.
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Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re:                                                               Chapter 11

SEASONS CORPORATE LLC, et al.,                                       Case No.: 18-45284 (nhl)

                                      Debtors.1                      Jointly Administered



      ORDER SUSTAINING DEBTORS’ FIFTH OMNIBUS OBJECTION: TO
      UNSECURED CLAIMS FILED AGAINST THE DEBTORS THAT ARE
      AMENDED OR DUPLICATE, SATISFIED, NOT REFLECTED IN THE
             DEBTORS’ BOOKS AND RECORDS, OR REDUCED


                   Upon the Debtors’ Fifth Omnibus Objection to Claims (the “Fifth

Objection”)2 that are (i) duplicate and/or have been amended (the “Duplicate Claims”);



1
    The Debtors in these Chapter 11 cases, together with the last four digits of their federal tax identification
    numbers, are as follows: Blue Gold Equities LLC (7766), Central Avenue Market LLC (7961),
    Amsterdam Avenue Market LLC (7988), Wilmot Road Market LLC (8020), Seasons Express Inwood
    LLC (1703), Seasons Lakewood LLC (0295), Seasons Maryland LLC (1895), Seasons Clifton LLC
    (3331), Seasons Cleveland LLC (7367), Lawrence Supermarket LLC (8258), Upper West Side
    Supermarket LLC (8895), Seasons Property Management LLC (2672) and Seasons Corporate LLC
    (2266) (collectively the “Debtors”).
2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Fifth
    Objection.
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(ii) satisfied, assumed and/or cured (the “Satisfied Claims”), (iii) not reflected in the

Debtor’s books and records (the “Records Claims”), or (iv) reduced (the “Reduced

Claims” and, together with the Duplicate Claims, the Satisfied Claims and the Records

Claims, the “Disputed Claims”), and the Court having jurisdiction to consider the Fifth

Objection and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334;

and consideration of the Fifth Objection and the relief requested therein being a core

proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Fifth Objection

having been provided, and no other or further notice of the Fifth Objection being

necessary; and the Court having considered the Fifth Objection, and any responses

thereto; and it appearing that the relief requested therein is in the best interests of the

Debtors and their estates, creditors, and all other parties in interest; and after due

deliberation thereon and good and sufficient cause appearing therefore,



IT IS HEREBY ORDERED THAT:


              1. The relief requested in the Fifth Objection is granted to the extent

provided herein.




                                            2
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                2. The Claims listed on Schedule 1 hereto as “Amended” or “Duplicate”

in the column under the heading “Basis for Objection,” are disallowed and expunged in

their entirety; provided however, that the relief granted herein shall have no effect on the

surviving claim listed under the heading “Basis for Objection.”


                3. The Claims listed on Schedule 1 hereto as “Assumed and Cured and/or

Paid” in the column under the heading “Basis for Objection” are disallowed and expunged

in their entirety.


                5. The Claims listed on Schedule 1 hereto as “Books and Records” in the

column under the heading “Basis for Objection” are disallowed and expunged in their

entirety.


                6. The Claims listed on Schedule 1 hereto as “Reduced” in the column

under the heading “Basis for Objection” are reduced to the amount set forth in the column

under the heading “Proposed General Unsecured Amount.”


                8. The Clerk’s Office is authorized and directed to modify the official

claims registry for the Debtors, as appropriate, in compliance with the terms of this Order.


                9. Each Disputed Claim and the objections filed by the Debtors to such

claim, as addressed in the Fifth Objection and as set forth on Schedule 1 hereto,

constitutes a separate contested matter as contemplated by Bankruptcy Rule 9014.




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                 10. This Order shall be deemed a separate Order with respect to each

Disputed Claim. Any stay of this Order pending appeal by any claimants whose claims

are subject to this Order shall only apply to the contested matter which involves such

claimant and shall not act to stay the applicability and/or finality of this Order with respect

to the other contested matters listed in the Fifth Objection or this Order.


                 10. The terms and conditions of this Order are effective immediately upon

entry.


                 11. This Court shall retain jurisdiction with respect to all matters arising

from or related to the implementation of this Order.




4819-3387-1056, v. 1




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                                                                                        SEASONS CORPORATE, ET AL.
                                                                                CASE NO. 18-45284 (JOINTLY ADMINISTERED)
                                                                        NON-SUBSTANTIVE OMNIBUS OBJECTION TO UNSECURED CLAIMS
                                                                                  Filed General
                                                                                   Unsecured      Proposed General
Claim No.            Creditor                                 Debtor                 Amount      Unsecured Amount Proposed Treatment                    Basis for Objection
C12       A-One Merchandising Corp            Blue Gold Equities LLC                  $24,634.34              $0.00 Disallow         Amended by claim 13
C17       A-One Merchandising Corp            Central Avenue Market LLC               $24,634.34              $0.00 Disallow         Duplicate of claim 12

C57       Axos Bank f/k/a Bofl Federal Bank Seasons Maryland LLC                  $1,365,645.00               $0.00 Disallow             Amended by claim #C6

C6        Axos Bank f/k/a Bofl Federal Bank   Seasons Maryland LLC                $1,365,645.00               $0.00   Disallow           Assumed and cured; late filed
C21       BAI Food LLC dba Croton Farms       Amsterdam Avenue Market LLC               $782.55               $0.00   Disallow           Duplicate of claim 6
C17       BAI Food LLC dba Croton Farms       Wilmot Road Market LLC                 $23,592.17               $0.00   Disallow           Duplicate of claim 6
C4        Baltimore Gas and Electric Co.      Seasons Maryland LLC                   $66,493.59               $0.00   Disallow           Duplicate of claim 4 filed in Seasons Maryland
          Cleveland Kosher Supermarket
C47       LLC                                 Seasons Cleveland LLC               $2,686,603.15               $0.00                      Duplicate of claim 1
          CLS Planning & Construction
C20       Services, LLC                       Wilmot Road Market LLC                  $8,586.12               $0.00   Disallow           Duplicate of claim 8
C27       Computer Dimension Inc              Seasons corporate                      $28,824.80               $0.00   Disallow           Duplicate of claim 7
C15       Computer Dimension Inc              Seasons corporate                      $28,824.80               $0.00   Disallow           Duplicate of claim 7
C11       Computer Dimension Inc              Seasons corporate                      $28,824.80               $0.00   Disallow           Duplicate of claim 7
C3        Computer Dimension Inc              Seasons corporate                      $28,824.80               $0.00   Disallow           Duplicate of claim 7
C95       Computer Dimension Inc              Seasons corporate                      $28,824.80               $0.00   Disallow           Duplicate of claim 7
C14       Computer Dimension Inc              Seasons corporate                      $28,824.80               $0.00   Disallow           Duplicate of claim 7
C25       Computer Dimension Inc              Seasons corporate                      $28,824.80               $0.00   Disallow           Duplicate of claim 7
C14       Computer Dimension Inc              Seasons corporate                      $28,824.80               $0.00   Disallow           Duplicate of claim 7
C23       Computer Dimension Inc              Seasons corporate                      $28,824.80               $0.00   Disallow           Duplicate of claim 7
C7        Computer Dimension Inc              Seasons corporate                      $28,824.80               $0.00   Disallow           Duplicate of claim 7
C11       Computer Dimension Inc              Seasons corporate                      $28,824.80               $0.00   Disallow           Duplicate of claim 7
          Crestmark Equipment Finance,
C35       Inc.                                Wilmot Road Market LLC              $3,365,763.45               $0.00   Disallow           Duplicate of claim 10; Assumed by Purchaser
C42       Golden Taste, Inc.                  Blue Gold Equities LLC                 $34,172.32               $0.00   Disallow           Duplicate of claim 23
C30       Golden Taste, Inc.                  Amsterdam Avenue Market LLC             $4,944.10               $0.00   Disallow           Duplicate of claim 23
C32       Golden Taste, Inc.                  Amsterdam Avenue Market LLC             $4,944.00               $0.00   Disallow           Duplicate of claim 23
C9        Golden Taste, Inc.                  Seasons Cleveland LLC                 $105,569.00               $0.00   Disallow           Duplicate of claim 23
C137      Golden Taste, Inc.                  Seasons Corporate                    $105,569.00                $0.00   Disallow           Duplicate of claim 23
C28       Golden Taste, Inc.                  Wilmot Road Market LLC               $105,569.00                $0.00   Disallow           Duplicate of claim 23
C47       Golden Taste, Inc.                  Seasons Lakewood LLC                   $34,172.32               $0.00   Disallow           Duplicate of claim 23
C48       Golden Taste, Inc.                  Seasons Express Inwood LLC              $2,725.00               $0.00   Disallow           Duplicate of claim 23
C29       Golden Taste, Inc.                  Central Avenue Market LLC              $20,185.05               $0.00   Disallow           Duplicate of claim 23
C39       Golden Taste, Inc.                  Seasons Clifton LLC                    $17,037.97               $0.00   Disallow           Duplicate of claim 23
C19       Golden Taste, Inc.                  Upper West Side Supermarket LLC      $105,569.00                $0.00   Disallow           Duplicate of claim 23
C18       Golden Taste, Inc.                  Seasons Express Inwood LLC              $2,724.72               $0.00   Disallow           Duplicate of claim 23
C5        Golden Taste, Inc.                  Seasons Property Management LLC      $105,569.00                $0.00   Disallow           Duplicate of claim 23
          Great America Financial Services
C25       Corp.                               Seasons Express Inwood LLC              $2,784.82               $0.00 Disallow             Duplicate of claim 10; Assumed and cured
C8        Hanmi Bank                          Central Avenue Market LLC             $176,165.94               $0.00 Disallow             Assumed and cured
C4        Hanmi Bank                          Central Avenue Market LLC             $176,165.94               $0.00 Disallow             Duplicate of claim 8; Assumed and cured
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                                                                                          SEASONS CORPORATE, ET AL.
                                                                                  CASE NO. 18-45284 (JOINTLY ADMINISTERED)
                                                                          NON-SUBSTANTIVE OMNIBUS OBJECTION TO UNSECURED CLAIMS
                                                                                    Filed General
                                                                                     Unsecured      Proposed General
Claim No.                 Creditor                              Debtor                 Amount      Unsecured Amount Proposed Treatment                        Basis for Objection
C3          Hanmi Bank                          Central Avenue Market LLC              $176,165.94               $0.00 Disallow            Duplicate of claim 8; Assumed and cured
C2          Hanmi Bank                          Central Avenue Market LLC              $176,165.94               $0.00 Disallow            Duplicate of claim 8; Assumed and cured
C12         Kel Chai Corp.                      Wilmot Road Market LLC                  $70,929.44               $0.00 Disallow            Books and records - No invoices attached to claim
C31         Krasdale Foods, Inc.                Blue Gold Equities LLC                  $40,818.86               $0.00 Disallow            Books and records
C19         Krasdale Foods, Inc.                Amsterdam Avenue Market LLC              $5,270.17               $0.00 Disallow            Books and records
C34         Krasdale Foods, Inc.                Seasons Lakewood LLC                    $22,232.41               $0.00 Disallow            Books and records
C18         Krasdale Foods, Inc.                Central Avenue Market LLC               $73,328.36          $49,180.28 Reduce and allow    Books and records
C30         Krasdale Foods, Inc.                Seasons Clifton LLC                     $28,259.43               $0.00 Disallow            Books and records
C15         Krasdale Foods, Inc.                Seasons Maryland LLC                    $25,975.53               $0.00 Disallow            Books and records
C16         Laurence Garber                     Upper West Side Supermarket LLC        $130,000.00               $0.00 Disallow            Duplicate, Included in L&N claim #37
C5          Liftco Elevator Group               Central Avenue Market LLC               $16,403.27               $0.00 Disallow            Duplicate of claim 101
C122        M&M Salad Dist. Inc.                Seasons Lakewood LLC                     $3,452.00               $0.00 Disallow            Duplicate of claim 156
C141        Main Ingredient South Inc           Seasons Lakewood LLC                   $194,191.00               $0.00 Disallow            duplicate of claim 42
C25         Main Street Bakeshop                Amsterdam Avenue Market LLC            $105,672.13               $0.00 Disallow            Duplicate of claim 36
C16         Main Street Bakeshop                Lawrence Supermarket LLC               $105,672.13               $0.00 Disallow            Duplicate of claim 36
C5          Main Street Bakeshop                Seasons Cleveland LLC                  $105,672.13               $0.00 Disallow            Duplicate of claim 36
C130        Main Street Bakeshop                seasons corporate                      $105,672.13               $0.00 Disallow            Duplicate of claim 36
C22         Main Street Bakeshop                Wilmot Road Market LLC                 $105,672.13               $0.00 Disallow            Duplicate of claim 36
C40         Main Street Bakeshop                Seasons Lakewood LLC                   $105,672.13               $0.00 Disallow            Duplicate of claim 36
C22         Main Street Bakeshop                Wilmot Road Market LLC                 $105,672.13               $0.00 Disallow            Duplicate of claim 36
C35         Main Street Bakeshop                Seasons Clifton LLC                    $105,672.13               $0.00 Disallow            Duplicate of claim 36
C11         Main Street Bakeshop                Upper West Side Supermarket LLC        $105,672.13               $0.00 Disallow            Duplicate of claim 36
C14         Main Street Bakeshop                Seasons Express Inwood LLC             $105,672.13               $0.00 Disallow            Duplicate of claim 36
C17         Main Street Bakeshop                Seasons Maryland LLC                   $105,672.13               $0.00 Disallow            Duplicate of claim 36
C146        Manhattan Snacks                    Seasons Corporate                       $45,396.83               $0.00 Disallow            Duplicate of claim 91
C140        Mario R Vergara Architects, PC      Wilmot Road Market LLC                  $21,484.00               $0.00 Disallow            Duplicate of claim 29

C23         Nathan Genut dba Fresh N Daily      Amsterdam Avenue Market LLC           $90,229.84             $59,138.71 Reduce and allow   Claim includes post-petition invoices
C145        Natural Earth Products Inc          Seasons Corporate                      $4,169.38                  $0.00 Disallow           Duplicate of claim 144

C154        Nitti's Exhaust Hood Cleaning LLC   Seasons Clifton LLC                      $426.50                  $0.00   Disallow         Duplicate of claim 126
C17         Norman Lampert                      Upper West Side Supermarket LLC       $80,000.00                  $0.00   Disallow         Duplicate, Included in L&N claim #37
C32         Pagano Melon Corp                   Seasons Lakewood LLC                     $413.13                  $0.00   Disallow         Paid pursuant to PACA motion
C19         Pagano Melon Corp                   Central Avenue Market LLC              $2,136.75                  $0.00   Disallow         Paid pursuant to PACA motion
C11         Pagano Melon Corp                   Seasons Clifton LLC                    $1,355.11                  $0.00   Disallow         Paid pursuant to PACA motion




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